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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                              EL PASO DIVISION

USA                                             §
                                                §
vs.                                             §        NO: EP:24-CR-01816(3)-LS
                                                §
(3) ALBERTO CANO                                §

             REPORT AND RECOMMENDATION OF MAGISTRATE JUDGE
                     UPON DEFENDANT’S PLEA OF GUILTY

       On this 19th day of March, 2025, the Defendant and counsel appeared before the Court.

After being admonished as required by Rule 11, Fed.R.Crim.P., the Defendant pled guilty to

Count One of the Indictment charging him with Conspiracy to Possess a Controlled Substance

with Intent to Distribute, in violation of Title 21 U.S.C. §§ 846 and 841(a)(1), pursuant to a Plea

Agreement.

       Accordingly, the Court makes the following findings:

       1.      The Defendant has consented to the entry of a guilty plea before a Magistrate

               Judge, subject to final approval and sentencing by the presiding United States

               District Judge.

       2.      The Defendant fully understands the oath and the consequences of failing to tell

               the truth at the plea hearing.

       3.      The Defendant fully understands the right to plead “not guilty” and to be tried by a

               jury.

       4.      The Defendant fully understands the right to be represented by counsel at trial and

               at every other stage of the proceeding.
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5.   The Defendant fully understands the right to a trial and that if the Defendant were

     to elect to go to trial, the Defendant would have the right to confront and

     cross-examine      adverse    witnesses,   to   be    protected    from    compelled

     self-incrimination, to testify and present evidence, and to compel the attendance of

     witnesses.

6.   The Defendant fully understands that if the guilty plea is accepted, there will not

     be a trial in this case.

7.   The Defendant fully understands the nature of the charge and the maximum

     possible penalties, including any imprisonment, applicable mandatory minimum

     penalties, fine, term of supervised release, as well as any forfeiture or restitution.

     The defendant also understands the court’s obligation to impose a special

     assessment.

8.   The Defendant fully understands that in determining sentence, the sentencing

     court will consider the applicable Sentencing Guidelines, including any departures

     that might be applicable, as well as the sentencing factors under 18 U.S.C. §

     3553(a). The Defendant also fully understands that although the sentencing court

     will consider the applicable sentencing guidelines, they are advisory in nature.

9.   The Defendant fully understands the terms of the Plea Agreement. The Defendant

     also fully understands that in the Plea Agreement, the Defendant has waived the

     right to appeal or collaterally attack the sentence to be imposed by the District

     Judge. The Defendant also understands that, if the court does not follow or apply
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               any recommended or requested sentencing adjustments contained in the Plea

               Agreement, the Defendant will have no right to withdraw the plea of guilty.

       10.     The Defendant’s plea was not induced by any promises, other than those set forth

               in the Plea Agreement, and the Defendant’s plea was not induced by any threats,

               force or threats of force.

       11.     The Defendant is competent to enter a plea.

       12.     The Defendant’s plea is made freely, knowingly, and voluntarily.

       13.     There is a factual basis to support the plea of guilty.



                                     RECOMMENDATION

       Based on the foregoing, it is recommended to the district judge that the Defendant’s plea

of guilty be accepted and that a judgment of guilt be entered.

       SIGNED and ENTERED this 19th day of March, 2025.


                                                     ______________________________
                                                     ROBERT F. CASTANEDA
                                                     UNITED STATES MAGISTRATE JUDGE



                                             NOTICE

FAILURE TO FILE WRITTEN OBJECTIONS TO THE FINDINGS AND
RECOMMENDATION CONTAINED IN THE FOREGOING REPORT, PRIOR TO
SENTENCING, MAY BAR DE NOVO DETERMINATION BY THE DISTRICT JUDGE
OF AN ISSUE COVERED HEREIN AND SHALL BAR APPELLATE REVIEW OF
SUCH FACTUAL FINDINGS AS MAY BE ACCEPTED OR ADOPTED BY THE
DISTRICT JUDGE.
